                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DI\ISION

UNI'I'ED STATES OF AMERICA                        )
                                                  )          DOCKET NO.: 5:19-CR-12
                                                  )
                                                  )          FACTIIAL BASIS
TEVINJEROME GAITHER,                              )
                                                  )

       NOW COMES the United States of America, by and through R. Andrew Murray, United
States Attomey for the Westem District of North Carolina, and hereby files this Factual Basis in
support ofthe plea agreement filed simultaneously in this matter.

        This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea(s) that the defendant will
tender pursuant to the plea agreement, and that the facts set forth in this Factual Basis are sufficient
to establish all of the elements of the crime(s), The parties agree not to object to or otherwise
contradict the facts set forth in this Factual Basis.

        Upon acceptance of the plea, the United States will submit to the Probation Office a
"statement of Relevant Conduct" pursuant to Local Criminal Rule 32.4. The defendant may
submit (but is not required to submit) a response to the Govemment's "Statement of Relevant
Conduct" within seven days of its submission. The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that they
have the right to object to facts set forth in the presentence report that are not contained in this
Factual Basis. Either party may present to the Court additional relevant facts that do not contradict
facts set foflh in this Factual Basis.

        l.       In or about August 2017,law enforcement leamed the defendant Tevin Jerome
Gaither (Defendant) was selling both cocaine and cocaine base (crack cocaine) drugs in Hickory,
North Carolina, and elsewhere, within the Westem District of North Carolina. The Defendant was
receiving these narcotics from various individuals and distributing them in the greater Hickory,
NC area. This Defendant trafficked over twenty-eight (28) grams ofcrack cocaine, with firearms,
in this drug trafficking conspiracy.

       2.       The defendant, Tevin Jerome Gaither, from on or about August 2017 to on or about
March 2019, in catawba county, within the western District of North carolina, and elsewhere,
did knowingly and intentionally conspire and agree with other persons, known and unknown to
the Grand Jury, to distribute and to possess with intent to distribute controlled substances. that is
a mixture and substance containing over twenty-eight (2g) grams of cocaine base
                                                                                             i,.crack
cocaine"), and a detectable amount of cocaine ("powder cocaini,,), both Schedule II controlled
substances, in violation of Title 21, United States Code, Sections ga1(a)(l) and g46;




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        3. The defendant, Tevin Jerome Gaither, on or about August 21, 2018' in Catawba
County, within the Westem District of North Carolina, and elsewhere, did knowingly and
intentionally possess with intent to distribute a controlled substance, that is, a mixture and
substance containing a detectable amount ofcocaine base, (commonly known as "crack cocaine"),
a Schedule II controlled substance, in violation of Title 21, united states code, Section 8a1(a)(l),
841(b)(lXC) and Title 18, United States Code, Section 2; and

       4.       The defendant, Tevin Jerome Gaither, on or about August 27, 2018, in Catawba
County, within the Westem District of North Carolina, and elsewhere, in furtherance of a drug
trafficking crime, that is, possession with intent to distribute controlled substances, a violation of
Title 21, United States Code, Section 841 as charged in Count Ten, for which he may be prosecuted
in a court ofthe United States, did knowingly and unlar{ully possess one or more firearms, and
did aid and abet the same, all in violation ofTitle 18, United States Code, Sections 924(c) and2.




R. ANDREW MURRAY
TINITED      ATES ATTORNEY




Sanjeev Bhasker
Assistant United Stat€s Attorney


                      Defendant's Counsel's Siqnature and Acknowledement

         I have read this Factual Basis, the Bill of Indictment, and the plea agreement in this case,
and have discussed them with the defendant. Based on those discussions, I am satisfied that the
defendant understands the Factual Basis, the Bill oflndictment, and the plea agreement. I hereby
certify that the defendant does not dispute this Factual Basis.



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  tlan a Mills,   A    ev for Defendant
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